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Local AO 245B (Rev. 09/19) Judgment in a Criminal Case

 

 

Sheet 1
UNITED STATES DISTRICT COURT
District of North Dakota
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. )

Skylar Dayne Goodman Case Number: 3:20-cr-141
USM Number: 17784-059
) Chad Pennington
) Defendant’s Attorney

THE DEFENDANT:

Mi pleaded guilty to count(s) ONE (1) and TWO (2) of the Superseding Indictment.

Ci pleaded nolo contendere to count(s)

 

which was accepted by the court.

C] was found guilty on count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 

Title & Section Nature of Offense Offense Ended Count
18 USC § 1992(a)(1), Violence Against Railroad Carrier 5/7/20 1
1992(a)(10), 1992(b) (1),
1992(c)(1)
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
(JJ The defendant has been found not guilty on count(s)
(J Count(s) C1 is [are dismissed on the motion of the United States.

 

_. Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

 

 

February 18, 2021
Date of Imposition of Judgment
Signture of Judge
Peter D. Welte U.S. Chief District Judge

 

Name and Title of Judge

LBL [8 L202}

Date
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Sheet 1A

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DEFENDANT: Skylar Dayne Goodman oo
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ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
18 USC § 1512(c)(2) Corruptly Attempting to Obstruct an Official Proceeding — 10/21/20 2
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Local AO 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

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DEFENDANT: Skylar Dayne Goodman
CASE NUMBER: 3:20-cr-141

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

TIME SERVED with credit for time served.

(J The court makes the following recommendations to the Bureau of Prisons:

O The defendant is remanded to the custody of the United States Marshal.

C1 The defendant shall surrender to the United States Marshal for this district:

C] at Olam 0 pm. on

 

1 as notified by the United States Marshal.

C] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

C1 before 2 p.m. on

 

C1 as notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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Local AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

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DEFENDANT: Skylar Dayne Goodman
CASE NUMBER: 3:20-cr-141

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

3 YEARS.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
C1] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4. ff You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
5. 1 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. J You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. [] You must participate in an approved program for domestic violence. (check ifapplicable)

won —

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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Local AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3A — Supervised Release

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DEFENDANT: Skylar Dayne Goodman
CASE NUMBER: 3:20-cr-141

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

 

Defendant's Signature Date

 
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Sheet 3D — Supervised Release

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DEFENDANT: Skylar Dayne Goodman
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SPECIAL CONDITIONS OF SUPERVISION

1. You must totally abstain from the use of alcohol and illegal drugs or the possession of a controlled substance, as defined in 21
U.S.C. § 802 or state statute, unless prescribed by a licensed medical practitioner; and any use of inhalants or psychoactive
substances (e.g., synthetic marijuana, bath salts, etc.) that impair your physical or mental functioning.

2. You must submit to drug/alcohol screening at the direction of the United States Probation Officer to verify compliance.
Failure or refusal to submit to testing can result in mandatory revocation. Tampering with the collection process or specimen

may be considered the same as a positive test result.

3. You must not communicate, or otherwise interact, with JJA or BNSF Railway, either directly or through someone else,
without first obtaining the permission of the probation officer.

4. You must participate in a program or course of study aimed at improving educational level or employment skills, for
example, obtain a GED, participate in or complete a vocational training program, or participate in a literacy program, at the
direction of your supervising probation officer.

5, You must participate in a program aimed at addressing specific interpersonal or social areas, for example, domestic violence,
anger management, marital counseling, financial counseling, cognitive skills, parenting, at the direction of your supervising
probation officer.

6. You must participate in mental health treatment/counseling as directed by the supervising probation officer.

7. As directed by the Court, if during the period of supervised release the supervising probation officer determines you are in
need of placement in a Residential Re-Entry Center (RRC), you must voluntarily report to such a facility as directed by the
supervising probation officer, cooperate with all rules and regulations of the facility, participate in all recommended
programming, and not withdraw from the facility without prior permission of the supervising probation officer. The Court
retains and exercises ultimate responsibility in this delegation of authority to the probation officer.

8. You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1))
other electronic communications or data storage devices or media, or office, to a search conducted by a United States probation
officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants that the
premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under this
condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

9. You must complete your Grade Equivalency Diploma (GED) before completion of supervised release. Failure to do so shall
be considered a violation of supervised release.
 

 

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Local AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

jan Pa PB
DEFENDANT: Skylar Dayne Goodman
CASE NUMBER: 3:20-cr-141

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 200.00 $ 3,124.00 $ $ $
C1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
| The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
BNSF Railway Company $3,124.00 $3,124.00
801 Main Avenue
Fargo, ND 58103

TOTALS $ 3,124.00 $ 3,124.00

C1] _ Restitution amount ordered pursuant to plea agreement $

[1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

i‘ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
Wi the interest requirement is waived forthe © fine M restitution.

C1 the interest requirement forthe [4 fine (4 restitution is modified as follows:

* Amy, Vicky, and Andy Child Porno aphy Victim Assistance Act of 2018, Pub. L. No. 115-299.
+ Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

*#** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

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DEFENDANT: Skylar Dayne Goodman
CASE NUMBER: 3:20-cr-141

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A WM _ Lumpsum payment of$ 3,324.00 due immediately, balance due

 

(J not later than , or
Wi inaccordancewith 41 C, OF D, OF E,or () F below; or

B (1 Payment to begin immediately (may be combined with UIC, []D,or (1 F below); or

C MM Payment in equal monthly (e.g., weekly, monthly, quarterly) installments of $ 200.00 over a period of
(e.g., months or years), to commence 60 days (e.g., 30 or 60 days) after the date of this judgment; or

D (C1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E  { .Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [Special instructions regarding the payment of criminal monetary penalties:

All criminal monetary payments are to be made to the Clerk's Office, U.S. District Court, 655 Ist Avenue North, Suite
130, Fargo, ND 58102.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

{1 Joint and Several

Case Number . .
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,

(including defendant number) Total Amount Amount if appropriate

[1 The defendant shall pay the cost of prosecution.
(_ The defendant shall pay the following court cost(s):

(The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2 restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
